Case 18-13293-BFK            Doc 22 Filed 12/30/18 Entered 12/31/18 00:19:42                        Desc Imaged
                                  Certificate of Notice Page 1 of 3
                                     United States Bankruptcy Court
                                           Eastern District of Virginia
                                               Alexandria Division
                                           200 South Washington Street
                                              Alexandria, VA 22314



                                                            Case Number 18−13293−BFK
                                                            Chapter 13

In re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):

   Julia M Simmons
   15051 Catalpa Court
   Woodbridge, VA 22193

Last four digits of Social−Security or Individual Taxpayer−Identification (ITIN) No(s).,(if any):
   Debtor: xxx−xx−8367

Employer Tax−Identification (EIN) No(s).(if any):
  Debtor: NA



                                      NOTICE OF DISMISSAL OF CASE

Notice is hereby given that an order was entered on December 28, 2018 dismissing the above−captioned case.




Dated: December 28, 2018                                    For the Court,

                                                            William C. Redden, Clerk
[VAN015vDec2009.jsp]                                        United States Bankruptcy Court
        Case 18-13293-BFK      Doc 22 Filed 12/30/18 Entered 12/31/18 00:19:42                 Desc Imaged
                                    Certificate of Notice Page 2 of 3
                                      United States Bankruptcy Court
                                      Eastern District of Virginia
In re:                                                                                  Case No. 18-13293-BFK
Julia M Simmons                                                                         Chapter 13
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0422-9           User: douglasse              Page 1 of 2                   Date Rcvd: Dec 28, 2018
                               Form ID: VAN015              Total Noticed: 39


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Dec 30, 2018.
db             +Julia M Simmons,    15051 Catalpa Court,    Woodbridge, VA 22193-5348
14549881       +AR Resources, Inc.,    Attn: Bankruptcy,    Po Box 1056,   Blue Bell, PA 19422-0287
14549885       +Child Support Enforcem,    Po Box 14,    Albany, NY 12201-0014
14549886       +Citibank,   Citibank Corp/Centralized Bankruptcy,     Po Box 790034,    St Louis, MO 63179-0034
14549887       +Commonwealth Financial Systems,    245 Main St,    Dickson City, PA 18519-1641
14549889       +Credit Acceptance Coprporation,    25505 West 12 Mile Rd,    Suite 3000,
                 Southfield, MI 48034-8331
14549890       +Credit Control Corp,    Po Box 120568,    Newport News, VA 23612-0568
14549891       +Dept of Ed / 582 / Nelnet,    Attn: Claims,    Po Box 82505,    Lincoln, NE 68501-2505
14549897       +Glasser & Glasser,    P.O. Box 3400,   Norfolk, VA 23514-3400
14549898       +Glasser & Glasser, PLC,    Crown Center, Ste. 600,    580 East Main Street,
                 Norfolk, VA 23510-2306
14549905       +Northern Virginia Endocronolgy,    3201 Jermantown Road, #250,     Fairfax, VA 22030-2881
14549907       +Oneunited Bank,    3683 Crenshaw Blvd,    Los Angeles, CA 90016-4890
14549908       +Pinnacle Financial G,    2101 Gaither Rd Ste 330,    Rockville, MD 20850-4074
14549912       +UAS,   P.O. Box 5866,    Carol Stream, IL 60197-5866
14549913       +Us Dept Of Ed/Great Lakes Higher Educati,     Attn: Bankruptcy,    2401 Interanational Lane,
                 Madison, WI 53704-3121

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
14549882       +EDI: RESURGENT.COM Dec 29 2018 08:03:00       Ashley Funding,    P.O. Box 10587,
                 Greenville, SC 29603-0587
14549883       +EDI: CAPITALONE.COM Dec 29 2018 07:58:00       Capital One,    Attn: Bankruptcy,    Po Box 30285,
                 Salt Lake City, UT 84130-0285
14549884       +EDI: CAPONEAUTO.COM Dec 29 2018 08:03:00       Capital One Auto Finance,     Attn: Bankruptcy,
                 Po Box 30285,    Salt Lake City, UT 84130-0285
14549888       +E-mail/Text: bankruptcy@consumerportfolio.com Dec 29 2018 03:09:10        Consumer Portfolio Svc,
                 Attn: Bankruptcy,    Po Box 57071,    Irvine, CA 92619-7071
14549892       +E-mail/Text: bankruptcynotices@devry.edu Dec 29 2018 03:09:19        Devry University,
                 Adtalem Global Education,    1200 E Diehl Road,    Naperville, IL 60563-9347
14582716        EDI: ECMC.COM Dec 29 2018 07:58:00       Educational Credit Management Corporation,
                 P.O. Box 16408,    St. Paul, MN 55116-0408
14627622       +E-mail/Text: bankruptcy@flagshipcredit.com Dec 29 2018 03:09:10        FLAGSHIP CREDIT ACCEPTANCE,
                 PO BOX 3807,    Coppell, TX 75019-4354
14549893       +EDI: AMINFOFP.COM Dec 29 2018 07:58:00       First Premier Bank,    Po Box 5524,
                 Sioux Falls, SD 57117-5524
14549894       +E-mail/Text: bankruptcy@flagshipcredit.com Dec 29 2018 03:09:10        Flagship Credit Accept,
                 3 Christy Drive Ste 201,    Chadds Ford, PA 19317-9670
14549895       +E-mail/Text: bankruptcy@flagshipcredit.com Dec 29 2018 03:09:10        Flagship Credit Acceptance,
                 Po Box 965,   Chadds Ford, PA 19317-0643
14549896       +E-mail/Text: bankruptcy@firstsouthwestern.net Dec 29 2018 03:08:51        Fst Sw Fncl,
                 1845 W 4400 S Ste A1,    Roy, UT 84067-3049
14549900        E-mail/Text: Loans@hsfcu1.org Dec 29 2018 03:09:40        Healthcare Systems Fcu,
                 3300 Gallows Rd,    Falls Church, VA 22042-0000
14549899       +E-mail/Text: bkynotice@harvardcollect.com Dec 29 2018 03:09:52        Harvard Collection,
                 Attn: Bankruptcy,    4839 N Elston Ave.,    Chicago, IL 60630-2589
14549901       +EDI: IIC9.COM Dec 29 2018 07:58:00       I C System Inc,    444 Highway 96 East,    P.O. Box 64378,
                 St. Paul, MN 55164-0378
14549902        EDI: IRS.COM Dec 29 2018 07:58:00       Internal Revenue Service,    P.O. Box 21126,
                 Philadelphia, PA 19114-0326
14549903       +EDI: MID8.COM Dec 29 2018 07:58:00       Midland Funding,    8875 Aero Drive, Ste. 200,
                 San Diego, CA 92123-2255
14638331       +EDI: MID8.COM Dec 29 2018 07:58:00       Midland Funding LLC,    PO Box 2011,
                 Warren, MI 48090-2011
14549904       +EDI: NAVIENTFKASMSERV.COM Dec 29 2018 07:58:00       Navient,    Attn: Bankruptcy,    Po Box 9500,
                 Wilkes-Barre, PA 18773-9500
14549906       +E-mail/Text: ustpregion04.ax.ecf@usdoj.gov Dec 29 2018 03:08:53        Office of the U.S. Trustee,
                 115 South Union St., Ste. 210,     Alexandria, VA 22314-3361
14549909        EDI: PRA.COM Dec 29 2018 07:58:00       Portfolio Recovery,    Po Box 41067,
                 Norfolk, VA 23541-0000
14549910       +E-mail/PDF: RACBANKRUPTCY@BBANDT.COM Dec 29 2018 03:14:56        Regional Acceptance Co,
                 Attn: Bankruptcy,    1424 E Firetower Rd,    Greenville, NC 27858-4105
14549911       +EDI: ECMC.COM Dec 29 2018 07:58:00       U.S. Department of Education,    Ecmc/Bankruptcy,
                 Po Box 16408,    Saint Paul, MN 55116-0408
14549914       +E-mail/Text: bankruptcynotice@westlakefinancial.com Dec 29 2018 03:09:02
                 Westlake Financial Services,    Customer Care,    Po Box 76809,    Los Angeles, CA 90076-0809
14549915       +E-mail/Text: ebn@wfcorp.com Dec 29 2018 03:09:45       Williams & Fudge,     300 Chatham Ave.,,
                 P.O. Box 11590,    Rock Hill, SC 29731-1590
                                                                                                TOTAL: 24

            ***** BYPASSED RECIPIENTS *****
NONE.                                                                                          TOTAL: 0
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                                            Certificate of Notice Page 3 of 3


District/off: 0422-9                  User: douglasse                    Page 2 of 2                          Date Rcvd: Dec 28, 2018
                                      Form ID: VAN015                    Total Noticed: 39


             ***** BYPASSED RECIPIENTS (continued) *****

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Dec 30, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on December 28, 2018 at the address(es) listed below:
              John P. Fitzgerald, III   ustpregion04.ax.ecf@usdoj.gov
              Nathan A. Fisher   on behalf of Debtor Julia M Simmons Fbarsad@cs.com, barsad@aol.com
              Thomas P. Gorman   ch13alex@gmail.com, tgorman26@gmail.com
                                                                                            TOTAL: 3
